921 F.2d 326
    287 U.S.App.D.C. 286
    NATURAL RESOURCES DEFENSE COUNCIL, INC., et al., Petitioners,v.ADMINISTRATOR, U.S. ENVIRONMENTAL PROTECTION AGENCY, et al.,Respondents.
    Nos. 87-1438 to 87-1443, 88-1913 and 89-1013.
    United States Court of Appeals,District of Columbia Circuit.
    Jan. 2, 1991.
    
      Before WALD, Chief Judge, and EDWARDS and SILBERMAN, Circuit Judges.
      ORDER
      PER CURIAM.
    
    
      1
      Upon consideration of the motion of petitioners in case No. 87-1438 for voluntary dismissal and of the response thereto it is
    
    
      2
      ORDERED, by the court, that the motion is granted and case no. 87-1438 is dismissed.  The consolidation of no. 87-1438 with the remaining cases is vacated.
    
    
      3
      It is Further Ordered, by the court, that Part IV of the court's opinion of April 27, 1990, and the separate opinions of Chief Judge Wald and Circuit Judges Edwards and Silberman which follow Part IV, be, and the same hereby are, vacated.
    
    
      4
      The Clerk is directed to transmit a certified copy of this order to Respondent, in lieu of a partial, formal mandate.
    
    